     Case 1:21-mj-00489-RMM Document 13 Filed 08/06/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLLUMBIA


UNITED STATES OF AMERICA                  :

              v.                          : Criminal No. 21-mj-489

JOSHUA DILLON HAYNES                      :

              Defendant                   :


           DEFENDANT’S RESPONSE TO MOTION TO REVOKE BOND

       Comes Now defendant, Joshua Dillon Haynes, by and through counsel,

in response to the government’s motion to revoke bond, states as follows.

       1. Counsel is aware of the defendant’s arrest in Allegheny County in

connection with the allegations contained in the sealed police report. Counsel

has conferred with Mr. Hayne’s court appointed counsel, Craig Leisure who

represents him in Allegheny Country. At the present time, counsel will submit on

the record herein and will reserve all rights to file a bond review motion at a

future dates if circumstances change.

                                          Respectfully submitted,


                                          ___________/_______________
                                          Thomas Abbenante #27934
                                          888 17th Street NW
                                          Suite 1200
                                          Washington, DC 20006
                                          202-223-6539
                                          Facsimile No. 202-223-6625
                                          tabbenante@aol.com
